Case 1:17-cv-02726-JFK-OTW Document 186 Filed 11/18/20 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ib

icoeh Mnites boat | eT meMMNCEERT ED

snc SDM wy

a eee en ie

   
 
 

BSG RESOURCES (GUINEA) LIMITED,
BSG RESOURCES (GUINEA) SARL,
and BSG RESOURCES LIMITED,

“yo de aye or
STE AR | eRe
a EBL EP bee Rha

pest gi AA STORE AL TY
ae

oe peace Fae At

ie err URSA a era RnR etanne
gue oe

Plaintiffs,

 

-against-
GEORGE SOROS, OPEN SOCIETY : No. 17 Civ. 2726 (JFK)
FOUNDATIONS, OPEN SOCIETY :
INSTITUTE, FOUNDATION TO 2 ORDER
PROMOTE OPEN SOCIETY, OPEN
SOCIETY FOUNDATION, INC.,
ALLIANCE FOR OPEN SOCIETY
INTERNATIONAL, INC., OPEN
SOCIETY POLICY CENTER, and OPEN
SOCIETY FUND,

Defendants.

JOHN F. KEENAN, United States District Judge:

Plaintiffs BSG Resources (Guinea) Limited, BSG Resources
(Guinea) Sarl, and BSG Resources Limited (collectively, “BSGR”
or “Plaintiffs”) bring suit against Defendants George Soros and
certain organizations that he allegedly controls (collectively,
“Defendants”) for damages Plaintiffs suffered when the African
nation of Guinea terminated an agreement that it had entered
with Plaintiffs related to certain lucrative mining rights in
Guinea. (Am. Compl., ECF No. 22.) Currently before the Court
is Defendants’ renewed motion to dismiss on the grounds of
collateral estoppel, the act of state doctrine, and failure to

state a claim upon which relief may be granted. Defendants’

 

 
Case 1:17-cv-02726-JFK-OTW Document 186 Filed 11/18/20 Page 2 of 3

motion includes documentation extrinsic to the Amended Complaint
that the Court construes to be in support of Defendants’
argument that Plaintiffs cannot prove any of their claims in
this action if, in fact, Plaintiffs procured their mining rights
through bribery and corruption. (See Reply at 5, ECF No. 185
(explaining that Mamadie Touré has admitted to taking bribes
from BSGR).)

In considering a motion to dismiss, a court is generally
“limited to the facts as asserted within the four corners of the
complaint, the documents attached to the complaint as exhibits,
and any documents incorporated in the complaint by reference.”

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir.

 

2007). “[W]here matter outside the pleadings is offered and not
excluded by the trial court, the motion to dismiss should be
converted to a motion for summary judgment” in accordance with

Federal Rule of Civil Procedure 12(d). Nakahata v. New York-—

 

Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 202 (2d Cir.

 

2013). Pursuant to Rule 12(d), “[w]lhen a district court
converts a motion to dismiss into one for summary judgment,
‘fa]ll parties must be given a reasonable opportunity to present
all the material that is pertinent to the motion.’” Sahu v.

Union Carbide Corp., 548 F.3d 59, 67 (2d Cir. 2008) (quoting

 

Fed. R. Civ. P. 12(d)).

 
Case 1:17-cv-02726-JFK-OTW Document 186 Filed 11/18/20 Page 3 of 3

With this order, the Court is notifying all parties that it
may convert, in part, Defendants’ motion to dismiss into one for
summary judgment, in part, pursuant to Federal Rule of Civil
Procedure 56, on the issue of whether Plaintiffs may be estopped
from arguing that BSGR did not procure certain of its mining
rights through bribes paid to Mamadie Touré. Accordingly, the
parties are directed to be prepared to discuss this issue during
oral argument on Defendants’ motion to dismiss, which is
currently scheduled for November 24, 2020.

SO ORDERED.

TF Keenug |
ty Lé 2,
Dated: New York, New York fotos ty]

November 18, 2020 John F. Keenan
United States District Court

 
